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  5   Attorney for Defendant
      TAMCO
  6
  7
  8                         UNITED STATES DISTRICT COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
 10
 11    DP ETIWANDA, LLC, a California      ) Case No. 5:21-cv-1238-JGB (SPx)
       limited liability company,          )
 12
                    Plaintiff,             ) Hon. Jesus G. Bernal
 13                                        ) Courtroom: 1
             vs.
 14                                        )
       SIMSMETAL USA CORP., a New          )
 15    York corporation; SA RECYCLING, a ) NOTICE OF INTERESTED
       Delaware limited liability company;   PARTIES AND CORPORATE
 16    AMERON INTERNATIONAL, INC., ) DISCLOSURE STATEMENT
       a Delaware corporation; TAMCO, a    ) [L.R. 7.1-1; FRCP 7.1]
 17    California corporation; and DOES 1- )
       20, inclusive,
 18                                        )
                    Defendants.            )
 19                                        )
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                NOTICE OF INTERESTED PARTIES AND CORPORATE DISCLOSURE
      4847-6109-4910 v.1              STATEMENT
Case 5:21-cv-01238-SSS-SP Document 20 Filed 10/08/21 Page 2 of 3 Page ID #:96


  1                    NOTICE OF INTERESTED ENTITIES OR PERSONS
  2            Pursuant to Civil L.R. 7.1-1, the undersigned, counsel of record for TAMCO,
  3   certifies that the following listed party (or parties) may have a pecuniary interest in
  4   the outcome of this case. These representations are made to enable the Court to
  5   evaluate possible disqualification or recusal:
  6            Defendant TAMCO, through the undersigned, certifies that in addition to
  7   itself, the following parties may have a pecuniary interest in the outcome of this case:
  8   Plaintiff DP Etiwanda, LLC; Defendants Simsmetal USA Corp., SA Recycling, and
  9   Ameron International, Inc.; CMC Steel Fabricators, Inc.; Allied World Assurance
 10   Company, Inc.; and Gerdau Ameristeel US Inc.
 11
 12                        CORPORATE DISCLOSURE STATEMENT
 13            Pursuant to Federal Rule of Civil Procedure 7.1, Defendant TAMCO, through
 14   the undersigned, certifies that its parent corporation, CMC Steel Fabricators, Inc., a
 15   Texas corporation, owns 10% or more of its stock.
 16
 17
 18
 19
 20   DATED: October 8, 2021                  HAYNES AND BOONE, LLP

 21
 22                                           By:      /s/ David Clark
                                                       David Clark
 23                                                    Attorney for Defendant
                                                       TAMCO
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                                                 1
                NOTICE OF INTERESTED PARTIES AND CORPORATE DISCLOSURE
      4847-6109-4910 v.1              STATEMENT
Case 5:21-cv-01238-SSS-SP Document 20 Filed 10/08/21 Page 3 of 3 Page ID #:97


  1                              CERTIFICATE OF SERVICE

  2            I, the undersigned, certify that on October 8, 2021, I served the following
  3
      documents on the interested parties in this action in the manner identified below:
  4
  5                        NOTICE OF INTERESTED PARTIES AND

  6                        CORPORATE DISCLOSURE STATEMENT
  7
               [X] BY ELECTRONIC FILING. I caused such document(s) to be
  8
  9   electronically filed and served through the United States District Court’s CM/ECF

 10   System for the within action. This service complies with the Federal Rules of Civil
 11
      Procedure. The file transmission was reported as complete and a copy of the Court’s
 12
 13   Notice of Electronic Filing will be maintained with the original document(s) in our

 14   office. Participants in the case who are registered CM/ECF users will be served by
 15
      the District CM/ECF System. I declare that this service complies with the Federal
 16
 17   Rules of Civil Procedure.

 18
      DATED: October 8, 2021                  HAYNES AND BOONE, LLP
 19
 20
                                              By:   /s/ David Clark
 21                                                 David Clark
                                                    Attorney for Defendant
 22                                                 TAMCO
 23
 24
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 26
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                                                2
               ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT TAMCO TO
                      COMPLAINT OF PLAINTIFF DP ETIWANDA, LLC
      4847-6109-4910 v.1
